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       EXHIBIT A
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                                  UNITED STATES DISTRICT COURT
                                 \\. LS`l ERN DISTRICT OFKEN'T'UCKY
                                           LOUISVILLE DIVISION

   SAI LIE BIN(i1-1A.NI, an individual              )
                                                    )
                   PI AIN TIFF                      )
                                                    )
   v.                                                    Case No. 3:24-cv-00211-CRS

   KEN I UCKY FOUNDATION FOR
   WONIFN.

                    DEFENDAN .

                                  AFFIDAVIT OF SHARON LARUE

          Affiant, Sharon Larue, being first duly sworn, deposes and states as follows:

          1.      I am over the age of 18 years old and am competent to testify. I have personal

  kno\\ ledge of . the matters set forth herein.

                  I have been employed as the Executive Director of Kentucky Foundation for

  Women. Inc. ("KFW"). since 2014.

                  KFW is a Kentucky non-profit corporation that is recognized as exempt under

 section 501(c )0 ) of the Internal Revenue Code of 1986, as amended. KFW's mission is to support

  female artists. primarily through financial grants.

          4.      1 am not an attorney and have no legal training.

                  During my time as Executive Director. KFW has employed a staff of approximately

  2-3 ful l-time employees and approximately 2-3 part-time employees at any given time. None of

 those employees have been attorneys or had legal training.

          6.      My responsibilities include, among other things, interacting with KFW's outside

  legal counsel to address Knrs various needs Ibr legal advice.

          7.      When I became Executive Director. the law firm of Dentons Bingham Cireenebaum
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  LLP ("Demons"). which at that time operated under a different name, was already KlinWs primary

  outside counsel. Nly understanding is that Dentons (and its predecessor firms) had been K         s

  primary outside counsel for many ) ears prior to my arrival at KEW and possibly since KF\k"s

  inception.

         1.      When I became Executive Director, Brent Baughman was a partner at Den tons and

  served as KFW 's primary contact at Dentons.         Mr. Baughman's primary expertise was in

  employment matters. but I consulted with him on all of KFV"s legal matters. including, but not

  limited to, employment issues, tax laws, rules governing our non-profit status. IT, lease

  agreements. real estate, issues related to Hopscotch h Iouse, and more. Mr. Baughman NN ould obtain

  assistance from other attorne\ s at Demons in other specialized fields as needed. Mr. Baughman

  served in that role and in that way durinu the entirety of my time with KF'W until March 18, 2024.

  as explained further below. During that time, there \Nas no l)reak in Demons's representation of

  KFW. Our engagement was on-going and served nearly every K FW need for legal advice and

  representation during that entire time. Whenever I contacted Demons for legal advice, I do not

  recall KM signing engagement letters or agreements to limit the scope of the firm's

  representation. Rather. Dentons provided advice as part of its ongoing and lona-standing attorney-

  client relationship with KFW.

         9.      Since 2018, I have consulted with Mr, Baughman and other attorneys at Dentons

  regarding at least several issues that are now part of this lawsuit filed against KFW by Sallie

  Binaham. Those issues included, but were not necessarily limited to, disagreements between 1( FW

  and Ms. Bingham regarding the use of her property that surrounded KEW's I Iopscotch House

  property. Ms. Bingham's attempt to secure a right of first refusal to purchase Hopscotch House so

  that I lopseotch House would not be purchased by a developer. and protecting           reputational
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 rights in response to defamatory statements made by Ms. Bingham (which she made in response

  to KIAN7 listing Hopscotch I louse for sale). For those issues. I shared privileged substantive

  information IA ith Dentons, and Dentons provided legal advice.

          10.     On March 5. 2024, I contacted Mr. Baughman seeking legal advice about an issue

  that is now a claim in this lawsuit. In response. Mr. Baughman asked for a phone call to discuss

  background information. On 01' about that same day. I spoke with Mr. Baughman on the phone.

  We discussed my inquiry and goals in substantive detail. and I sought legal advice about KfW's

 options. N.H. Baughman told me he would look into the issue further and contact Ills.

           1.     The next communication I received from Mr. Baughman was a March 18, 2024

  letter stating that Dentons was "terminating [its] attorney-client relationship.' with KFW,

          12.     Eleven days later, Demons filed the Complaint against KFW in this case on behalf

 of Ms. Bingham, which concerns Ilopscotch Ilouse.

          13.     Without its long-time outside counsel, 1(17W engaged the law firm of Wyatt, Tarrant

 & Combs LLP (-Wyatt") to represent KFW in Ms. Bingham's lawsuit.

          14.     On or about March 13, 2025, I mentioned to my attorney at Wyatt, Nlatthew

  Palmer-Ball, that Dentons had pre\ iously represented RM. I had not previously informed Mr.

  Palmer-Ball about KFW's relationship with Dentons.               I had not considered it relevant or

  consequential. The topic arose at that time by happenstance while we were discussing a matter

  related to the case.

          15.     Before approximately March 13, 2025. I did not understand the meaning or

  implications of a conflict of interest in a legal setting. including litigation. I was not aware until

  that time that rules could preclude Demons from representing a client in a lawsuit against KM or

  that it \\ as a possibil ity to explore with legal counsel.




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           1 6.   1 am not a‘\ are of Dentons ever advising KFW about potential conflicts of interest

  or their implications.

           17.    1 am not aware of Dentons ever obtaining a waiver of conflicts of interests from

  KF\k'.

           18.    1 am not aware of any communication from Dentons informing KFW that it

  intended to pursue this lawsuit on behalf ofIlingham, or that Mr. Baughman and any other attorne`

  who previously provided ad\ ice to KFW, or on its behalf, \\ere screened away from participation

  in Dentons' representation of Bingham in this matter.

           1 9.   Because of the length and comprehensive scope or its relationship with Dentons,

  and because no employee or staff member has been involved with KFW nearly as long as Dentons

  had been, KFW relied on Dentons for its institutional memory and kno\dedge of past strategies

  and organisational decisions. Losing that relationship has caused significant detriment to KFW,

  especially as it fi nds itself defending against a lawsuit that involves past events that Dentons was

  involved in but that no current KFW employee or board member was.




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                                                       Sharon LaRue
                                                       Executive Director
                                                       Kentucky Foundation for Women, Inc.




   COMMONWEALTH OF KENTUCKY )

   COUNTY OF JEFFERSON

         The foregoing instrument was sworn to and acknowledged before me this 10th day of April,
  2025, by Sharon LaRue.

          My commission expires:

                        Ursula G. Beam, Notary Public
                        Kentucky, State at Large

  NOTARY PUBLIC
                        My Commission Expires April 6, 2025
                        ID# KYNP23860
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